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UNITED STA'I`ES OF AMERICA, )
Plaintiff, )
)
vs. )
)
)
KATHRYN BOWERS, )
Defendant. )

§ ...-

ORDER ON DEFENDANT BOWERS’ f

MOTION TO EXTEND TIME TO FILE MOTIONS

 

This cause came on to be heard upon the motion of defendant Kathlyn Bowers. For good
cause shown, the motion is GRANTED. Det`endant Bowers’ report date shall be reset to
_AMSM 2‘5' , 2005 at S-'£ § a.m. The period from July 21, 2005 to September
_L(L, 2005, is excludable under U.S.C. 3161 (h)(S) (b)(4) because the ends of justice served in

allowing additional time to prepare outweigh the need for a speedy trial.

lt is further order that Det`endant shall have until October 1 2005 to tile motions in this

 

CBUS€.

IT SO ORDERED this l ;l\[\ day ofJuly, 2005.

/M

JUDG[£ DANIEL BREEN \
(L@iph

D STATES DISTRICT COURT

 

Thie document entered on the docket sheet in compliance

with ante 55 and/or aa(b) Fach on ~ O ‘

 

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Honorable J. Breen
US DISTRICT COURT

